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                       UNITED STATES DISTzuCT COURT
                        DISTRICT OF SOUTH DAKOTA
                             WESTERN DIVISION

  UNITED STATES OF AMERICA,                cR22-50179

              Plaintiff,                   FACTUAL BASIS STATEMENT

       VS


  JESUS GONZALEZ- CISNERO S,

              Defendant.

      The Defendant states the following facts are true, and the parties agree

they establish a factual basis for the offense to which the Defendant is pleading

guilty pursuant to Federal Rule of Criminal Procedure 1 1(b)(3):

      On September 27, 2O22, in the District of South Dakota, the defendant,

Jesus Gonzalez-Cisneros, a citizen of Mexico, had contact with law enforcement

in Rapid City, South Dakota. Gonzalez-Cisneros had been previously deported

from the United States on six different occasions, the last being on or about

November 26, 2016, through Nogales, Anzo..a. After being deported from the

United states, Gonzalez-cisneros voluntarily and knowingly entered the United

states. Gonzalez-cisneros had not obtained the consent of the secretary of the
united states Department of Homeland securit5r or the Attorney General of the

United States to apply for lawful admission into the United States.

      The parties submit that the foregoing statement of facts is not intended to

be a complete description of the offense or the Defendant,s involvement
                                                                                 in
it. Instead, the statement is offered for the limited purpose of satis$ring the
requirements of Fed. R. crim. p. r 1(bx3). The parties understand
                                                                    that additional
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information relevant to sentencing may be developed and attributed to the

Defendant for sentencing purposes.

                                     ALISON J. RAMSDELL
                                     United States Attorney

 November 3, 2022
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Date
                                      tr-us 6
                                     JESUS GONZALEZ-CI
                                     Defendant

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Date                                 THOMAS DIGGINS
                                     Attorney for




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